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                                       IN        THE T'NITED                STATES DISTRICT                               COURT

                                       rOR TIIE                SOIITCERN DISTRICT                                  OF GEORGIA                   ?$l5
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                                                                  AUGUSTA DTVISIO}T                                                       ,'-rnn*Q,ffi
U N ] T E D S T A T E SO F A M E R I C A                                        )

                                                                                )                    C A S E N U M B E R :L : L I c r 3 6 I

NICHOLAS PHILLIP                              WASHINGTON                        )



                             DAVID        }IEBER,               APPLICATION                   FOR LEJA'\IE Or' ABSEIiICE

                                                                                ORDER

              EAVING BEEN REJADAIiID CONSIDERED, the                                                                foregoing           Apo-icAt        ion

for         Leave of Absence, said                                       Leave of Absence i s hereby granted                                              to
            j^--r
nnP^Pn fr   f \ , o , LL '    navi.i          rd^har              r.1r     l-ha      fr nvl r fI n
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              December 3, 201,5 and December 4, 2015 for                                                                        legaI    continu ing

education
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or noticed                    in the above case.

              SO ORDEREDthis




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                                                                            S                           DISTRICT
